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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   NORTHERN DIVISION
                                         ______

ANTONIO GARZA,

                        Petitioner,                   Case No. 2:20-cv-175

v.                                                    Honorable Paul L. Maloney

MIKE BROWN,

                        Respondent.
____________________________/

                                           JUDGMENT

                 In accordance with the opinion entered this day:

                 IT IS ORDERED that the petition for writ of habeas corpus is DENIED WITH

PREJUDICE under Rule 4 of the Rules Governing § 2254 Cases for failure to raise a meritorious

federal claim.



Dated:    October 2, 2020                             /s/ Paul L. Maloney
                                                       Paul L. Maloney
                                                       United States District Judge
